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 7   Attorneys for Respondents

 8                                  UNITED STATES DISTRICT COURT

 9                                          DISTRICT OF NEVADA

10    KEVIN JAMES LISLE,                                  Case No. 2:03-cv-01006-MMD-CWH
11             Petitioner,                                  ORDER TO TRANSPORT PETITIONER
12    vs.
13    WILLIAM GITTERE, et al.,
14             Respondents.

15

16           In accordance with the Order this Court’s June 19, 2020 (ECF No. 407) order setting an
17   evidentiary hearing on October 22-23, 2020:
18           IT IS THE ORDER OF THE COURT that the Nevada Department of Corrections (NDOC)
19   will transport inmate Kevin James Lisle, NDOC #49948, to the Bruce R. Thompson Federal Courthouse,
20   400 S. Virginia Street, Reno, Nevada, to personally attend the evidentiary hearing scheduled for
21   Thursday, October 22, 2020 at 9:00a.m, and Friday, October 23, 2020 at 9:00am in Courtroom 5 before
22   the Honorable Miranda M. Du.
23           The Clerk of Court additionally shall provide a copy of this order to the Marshal’s Reno office.
24                      20th day of ____________________,
             DATED this _____        October              2020.
25
                                                          DISTRICT COURT JUDGE
26
     Submitted by:
27
     /s/ Michael J. Bongard
     Michael J. Bongard (Bar No. 007997)
28   Senior Deputy Attorney General


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 1                                        CERTIFICATE OF SERVICE
 2          I certify that I am an employee of the Office of the Attorney General and that on this 22nd day of
 3   September, 2020, I served a copy of the foregoing (proposed) ORDER TO TRANSPORT
 4   PETITIONER, by U.S. District Court CM/ECF electronic filing to:
 5   David Anthony
     Stacy M. Newman
 6   Assistant Federal Public Defenders
     411 E Bonneville Ave. Ste. 250
 7   Las Vegas, Nevada 89101
     David_anthony@fd.org
 8   Stacy_newman@fd.org
 9                                                /s/ Amanda White
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